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                       IN THE UNITED STATES DISTRICT COURT
                           NORTHERN DISTRICT OF TEXAS


 PUBLIC HEALTH AND MEDICAL
 PROFESSIONALS FOR TRANSPARENCY,

                                  Plaintiff,                  Civil Action No. 4:21-cv-01058-P
        -against-

 FOOD AND DRUG ADMINISTRATION,

                                  Defendant.


                                  SECOND JOINT REPORT

       Plaintiff, Public Health and Medical Professionals for Transparency (“Plaintiff”), by and

through its attorneys, and Defendant, the U.S. Food and Drug Administration (“Defendant or

“FDA”), by and through its attorney, hereby submit this Joint Report in compliance with the

Court’s Order of November 10, 2021, ECF No. 19 (the “Order”):

       1.      The Order asked the parties to “appraise the Court of whether a scheduling

conference is needed” and if not to “propose[] deadlines for an expedited briefing schedule, if

necessary.”

       2.      Defendant’s Position: A scheduling conference is needed with the Court in order

to set a schedule for the processing of records in response to Plaintiff’s Freedom of Information

Act (“FOIA”) request. Setting a processing schedule does not go to the merits of the case, but

instead sets the schedule for the necessary deadlines to govern a FOIA case. The processing

schedule serves as an important precursor to future deadlines in the case, including scheduling for

dispositive motions.

       In FOIA cases, a FOIA requestor typically files suit after it has submitted a FOIA request

to an agency and the agency has not yet processed and produced all responsive records to the

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requestor. 5 U.S.C. § 552(a)(4)(B). Once a case is filed and the government has answered the

complaint, the parties usually negotiate a schedule by which the government will search for,

process, and produce records responsive to the plaintiff’s FOIA request. If the parties are unable

to agree upon a schedule, courts typically enter a processing schedule after considering arguments

for each party’s proposed schedule that were presented in a status report or at a scheduling

conference.

        A processing schedule is necessary because many different types of information are exempt

from the FOIA, such that the government must redact that information before providing responsive

records to the plaintiff. See 5 U.S.C. § 552(b)(1)–(b)(9). Reviewing and redacting records for

exempt information is a time-consuming process that often requires government information

specialists to review each page line-by-line. When a party requests a large amount of records, like

Plaintiff did here, courts typically set a schedule whereby the processing and production of the

non-exempt portions of records is made on a rolling basis.

        After the government has completed processing and producing the non-exempt portions of

responsive records to the plaintiff, the parties typically confer as to whether the plaintiff intends to

challenge the adequacy of the government’s search for records or any of the redactions taken to

protect the disclosure of exempt material. If the parties have a dispute over the search or the

exemptions, the parties typically confer and propose a schedule for summary judgment briefing.

Setting a summary judgment schedule before the completion of the production of records is

inefficient for the parties and the Court, as it results in piecemeal briefing and consideration of the




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merits of the case. Summary judgment briefing in a FOIA case is not the appropriate vehicle to

set a schedule for the release of records.1

        In this case, FDA has assessed that there are more than 329,000 pages potentially

responsive to Plaintiff’s FOIA request. (This page count is under-inclusive of the material

responsive to the request, as it does not include certain types of records that cannot be meaningfully

paginated, such as data captured in spreadsheets that contain thousands of rows of data.) The

parties have conferred in good faith concerning a processing schedule, but have been unable to

reach agreement for the reasons set forth in the parties’ Joint Report. See ECF No. 18.

        Defendant respectfully requests a scheduling conference with the Court for the Court to set

a schedule for the processing of documents. Defendant proposed a processing schedule in the

Joint Report and resubmits it here for ease of reference. FDA proposes to process and produce the

non-exempt portions of the following records by the following dates:

             •   November 17:

                      o From Section 5.2 of the Biologics License Application (“BLA”) file:

                                 ▪   The Tabular Listing

                                 ▪   The Listing of Clinical Sites

                      o The Reports of Postmarketing Experience from Section 5.3.6 of the BLA

                          file

                      o One SAS file.2



1
 Nor is establishing a briefing schedule for “expedited production” necessary. Any production schedule established
as part of a scheduling conference with the Court will inherently resolve any questions related to the rate of the
agency’s production.
2
  Plaintiff has requested to receive the SAS files in their native format. FDA customarily converts SAS files to PDF
files because PDFs can be redacted to prevent the release of non-exempt information. However, FDA is willing to
produce SAS files to Plaintiff (if it is feasible for FDA to do so) with the parties’ understanding that FDA may have
to delete, rather than redact, exempt information from those files to prevent disclosure of exempted information.

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             •    December 1: remainder of section 5.2 of the BLA file.

After the December 1 production, FDA proposes to work through the list of documents that

Plaintiff requested FDA prioritize for production in order of priority and process and release the

non-exempt portions of those records to Plaintiff on a rolling basis. FDA proposes to process and

produce the non-exempt portions of responsive records at a rate of 500 pages per month. This rate

is consistent with processing schedules entered by courts across the country in FOIA cases.3

         Plaintiff’s request (as set forth below) that FDA process and produce the non-exempt

portions of more than 329,000 pages in four months would force FDA to process more than 80,000

pages per month. Undersigned counsel is not aware of any court ever granting such a request. The

Court should decline to enter Plaintiff’s schedule for numerous reasons.

         First, “[r]equiring the agency to process and produce these materials under an abbreviated

deadline raises a significant risk of inadvertent disclosure of records properly subject to exemption

under FOIA.” Daily Caller v. Dep’t of State, 152 F. Supp. 3d 1, 14 (D.D.C. 2015). Plaintiff has

requested records that comprise information submitted by the vaccine sponsor (Pfizer-BioNTech).

From FDA’s experience with other FOIA requests, such records can be expected to contain both


3
 See, e.g., Documented NY v. U.S. Dep’t of State, No. 20 Civ. 1946 (AJN) (S.D.N.Y.) Dkt. 26 p.2 (denying plaintiff’s
processing rate demand of 2,500 pages per month and adopting Department of State’s proposed 300 pages per month);
NYCLU v. Admin. for Children & Families, No. 20 Civ. 183 (MKV), Dkt. No. 30 (S.D.N.Y. May 5, 2020) (400 pages
per month); Color of Change v. U.S. Dep’t of Homeland Sec., 325 F. Supp. 3d 447, 451 (S.D.N.Y. 2018) (500 pages
per month); Davis v. U.S. Dep’t of Homeland Sec., No. 11-cv-203 (ARR) (VMS), 2013 WL 3288418, at *1 (E.D.N.Y.
June 27, 2013) (500 pages per month); Blakeney v. FBI, No. 17-cv-2288 (BAH), 2019 WL 450678, at *2 (D.D.C. Feb.
5, 2019) (500 pages per month); Colbert v. FBI, No. 16 Civ. 1790 (DLF), 2018 WL 6299966, at *3 (D.D.C. Sept. 3,
2018) (500 pages per month); Republican Nat’l Comm. v. U.S. Dep’t of State, No. 16 Civ. 486 (JEB), 2016 WL
9244625, at *1 (D.D.C. Sept. 16, 2016) (500 pages per month); Energy & Env’t Legal Inst. v. U.S. Dep’t of State, No.
17 Civ. 340 (D.D.C.), Minute Order of August 22, 2017 (300 pages per month); Judicial Watch, Inc. v. U.S. Dep’t of
State, No. 17 Civ. 205 (D.D.C.), Minute Order of June 30, 2017 (300 pages every four weeks); Am. Ctr. for Law &
Justice v. U.S. Dep’t of State, No. 16 Civ. 2516 (D.D.C.), Minute Order of June 27, 2017 (process 400 pages per
month); Citizens United v. U.S. Dep’t of State, No. 16 Civ. 67 (D.D.C.), Dkt. 17 at 3 (declining “to adopt Plaintiff’s
proposed production order of 2000 pages per month” and instead holding State “to its 300-page commitment”);
Freedom Watch v. Bureau of Land Mgmt., No. 16 Civ. 2320 (D.D.C.), Minute Order of June 13, 2017 (500 pages
every 30 days); Citizens United v. U.S. Dep’t of State, No. 15 Civ. 1720 (D.D.C.), Dkt. 11 ¶ 10 (500 pages every four
weeks); Judicial Watch, Inc. v. U.S. Dep’t of State, No. 15 Civ. 687 (D.D.C.), Minute Order of April 4, 2017 (500
pages per month).

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confidential business and trade secret information of Pfizer or BioNTech and personal privacy

information of patients who participated in clinical trials. FDA is required to protect certain

information under the law and this type of information is exempt from production under the FOIA.

See 5 U.S.C. § 552(b)(4), (b)(6); F.B.I. v. Abramson, 456 U.S. 615, 621 (1982) (“Congress realized

that legitimate governmental and private interests could be harmed by release of certain types of

information and provided nine specific exemptions under which disclosure could be refused.”).

To ensure protection of this information, and other information subject to withholding under the

FOIA exemptions, FDA must carefully review and, if necessary, redact exempt information on a

line-by-line basis. See Daily Caller, 152 F. Supp. 3d at 14 (stating that the government has a

“responsibility” when processing FOIA requests to “safeguard[] potentially sensitive

information”). This type of review for more than 329,000 pages will necessarily require time if

the agency is going to be able to perform the careful analysis necessary to protect sensitive

information.

       Second, the FDA does not have the personnel or resources in its FOIA office to process

Plaintiff’s FOIA request at a rate of more than 80,000 pages per month. Plaintiff’s FOIA request

is being processed by the Access Litigation and Freedom of Information Branch (the “Branch”) in

FDA’s Center for Biologics Evaluation and Research (“CBER”). The Branch has a total of ten

employees, including the director and two trainees. It is currently responsible for processing a

total of approximately 400 currently pending FOIA requests, including Plaintiff’s. CBER is

currently involved in 6 active FOIA litigation matters. By processing and making interim

responses based on 500-page increments, FDA will be able to provide more pages to more

requesters, thus avoiding a system where a few large requests monopolize finite processing

resources and where fewer requesters’ requests are being fulfilled. Simply put, processing



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resources are finite. Increasing the volume to more than 80,000 pages per month (if such rate is

even possible – and it likely is not), as Plaintiff requests, would result in Plaintiff monopolizing

essentially all of FDA’s resources and leaving little resources to process other FOIA requests.

Indeed, the D.C. Circuit has recognized that another agency’s policy of processing 500 pages per

request per month “serves to promote efficient responses to a larger number of requesters.” Nat’l

Sec. Counselors v. Dep’t of Justice, 848 F.3d 467, 471–72 (D.C. Cir. 2017); see also Elec. Privacy

Info. Ctr. v. Dep’t of Justice, 15 F. Supp. 3d 32, 47 (D.D.C. 2014) (denying motion for preliminary

injunction requesting immediate production of documents pursuant to FOIA request and noting

that allowing the plaintiff “to jump to the head of the line would upset the agency’s processes and

be detrimental to the other expedited requesters”); Daily Caller, 152 F. Supp. 3d at 14 (stating that

“the plaintiff’s effort to jump to the head of the FOIA processing line would work a significant

burden on both the agency and numerous interested parties”).

       Third, the Court should flatly reject Plaintiff’s specious argument that because the scientists

reviewing Pfizer’s Biologics License Application could do so on an expedited timeframe, the

government information specialists should be able to do so in the same period of time. As should

be apparent, the review conducted by FDA scientists when considering to approve a product is

entirely different from the review conducted by FDA government information specialists when

considering whether FDA must keep certain information confidential. Moreover, FDA’s FOIA

office does not have nearly the same level of personnel or resources dedicated to process FOIA

requests as FDA has marshaled to review license applications for live-saving products in the

middle of a pandemic.

       Fourth, contrary to Plaintiff’s argument, FDA’s regulations do not require or suggest that

FDA will release all publicly releasable data immediately after a biologics license application is



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approved. When read in context, it is clear that FDA’s regulations establish when information in

a biological product file is held in strict confidence by the agency and when certain data can be

released to the public, for instance in response to standard processing of a request submitted under

the Freedom of Information Act. See generally 21 C.F.R. § 601.51. Put another way, the

regulations establish the point in time when records that may previously have been unavailable for

public disclosure lose their status as confidential and thus become available for public release

“immediately” upon occurrence of the triggering event. Specifically, under 21 C.F.R. § 601.51,

the existence of a biological product file will not be disclosed by FDA prior to BLA approval

unless it has been previously disclosed or acknowledged, and no data or information in that file is

available for public disclosure. 21 C.F.R. § 601.51(b, c). If the existence of the biological product

file has been acknowledged before a license has been issued, FDA generally still will not make

information and data in the file available for public disclosure prior to issuance of a BLA

license. 21 C.F.R. § 601.51(d). Once a license has been issued, however, certain data and

information in the biological product file become “immediately” available for public

disclosure. 21 C.F.R. § 601.51(e). That means that if a properly submitted FOIA request is

received for data and information listed in 21 C.F.R. § 601.51(e), FDA may publicly release such

information in response to such request, without need for additional agency action to reclassify as

publicly releasable data and information that had previously been deemed confidential under this

regulation.

       Fifth, although Plaintiff takes issue with the amount of time it will take to process 329,000

pages at a rate of 500 pages per month, such a result is due to its own broad FOIA request. Courts

do not waiver from the standard 500 page per month processing rate even when a FOIA request

would take years to process. See, e.g., Colbert v. F.B.I., No. 16-CV-1790 (DLF), 2018 WL



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6299966, at *3 (D.D.C. Sept. 3, 2018) (permitting a processing rate of 500 pages per month for

71,000 responsive records). FDA has invited Plaintiff to narrow its request by specifying records

it no longer wants FDA to process and release, and Plaintiff has declined to do so. If Plaintiff

decides to request fewer records, then FDA will be able to complete its processing at an earlier

date.

         Finally, this case is not about a vaccine mandate or whether Pfizer can be held liable. This

is a FOIA case where the only relevant issue at this stage in the litigation is setting a reasonable

processing schedule. FDA’s proposed schedule of 500 pages per month is consistent with

schedules set by courts across the country, including in cases where the underlying records were

of national significance. It adequately balances the interests of the Plaintiff in responsive records

with the interests of the vaccine sponsor in the protection of its confidential information, the

interests of clinical trial participants in the protection of their personal privacy information, and

the interests of other FOIA requesters whose requests are being processed alongside Plaintiff’s.

         3.        Plaintiff’s Position: Plaintiff agrees with the Defendant’s position that the Court

may enter a production schedule based on the arguments in this Joint Report or do so at a

conference. Plaintiff seeks the records submitted to the FDA by Pfizer to license its COVID-19

vaccine (the “FOIA request”)4 and requests an order requiring the FDA to produce all documents



4
  The FOIA request requested: “All data and information for the Pfizer Vaccine enumerated in 21 C.F.R. § 601.51(e)4
with the exception of publicly available reports on the Vaccine Adverse Events Reporting System.4” The CFR provision
referenced in the FOIA request provides, in relevant part, as follows: “After a license has been issued, the following data
and information in the biological product file are immediately available for public disclosure unless extraordinary
circumstances are shown: (1) All safety and effectiveness data and information. (2) A protocol for a test or study . . . (3)
Adverse reaction reports. . . (4) A list of all active ingredients and any inactive ingredients . . . (5) An assay method or
other analytical method . . . (6) All correspondence and written summaries of oral discussions relating to the biological
product file . . . (7) All records showing the manufacturer’s testing of a particular lot . . . (8) All records showing the
testing of and action on a particular lot by the [FDA].” The FOIA request also explained that “For the avoidance of
doubt, the FOIA Request includes but is not limited to all of the data and information in the biological product file, as
defined in 21 C.F.R. § 601.51(a), for the Pfizer Vaccine enumerated in 21 C.F.R. § 601.51(e) with the exception of
publicly available reports on the Vaccine Adverse Events Reporting System.”

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responsive to its FOIA request no later than March 3, 2022. This 108-day period is the same

amount of time it took the FDA to review the responsive documents for the far more intricate task

of licensing Pfizer’s Covid-19 vaccine (the “Pfizer vaccine”).

        Plaintiff is an organization comprised of over 30 accomplished academics, professors, and

scientists from the medical schools and related departments of our most prestigious universities,

including Yale, Harvard, UCLA, and Brown. These academics and scientists represent a cross

section of every discipline relevant to the licensure of the Pfizer vaccine and include many of the

best our country has to offer when it comes to reviewing and assessing the appropriateness and

validity of the FDA’s decision-making in licensing this product.

        The ability of a majority of Americans to participate in civil society, and even exercise

basic liberty rights, are now contingent on receiving this product. For example, the White House’s

recent Covid-19 Action Plan5 and executive orders6 have made receipt of this product a condition

of employment7 for more than 6 million federal workers and contractors,8 22 million healthcare

professionals,9 84 million private sector employees,10 and the enlisted and reserve members of our


5
  https://www.whitehouse.gov/covidplan/#testing-masking (last visited November 15, 2021).
6
     See https://www.whitehouse.gov/briefing-room/presidential-actions/2021/09/09/executive-order-on-ensuring-
adequate-covid-safety-protocols-for-federal-contractors/ (Executive Order of Ensuring Adequate COVID Safety
Protocols for Federal Contractors) (last visited November 15, 2021); https://www.whitehouse.gov/briefing-
room/presidential-actions/2021/09/09/executive-order-on-requiring-coronavirus-disease-2019-vaccination-for-
federal-employees/ (Executive Order on Requiring Coronavirus Disease 2019 Vaccination for Federal Employees)
(last visited November 15, 2021).
7
   See, e.g., https://www.osha.gov/laws-regs/regulations/standardnumber/1910/1910.501 (Emergency Temporary
Standard requiring employers with 100 or more employees to implement vaccination mandates) (last visited
November 12, 2021); https://www.whitehouse.gov/briefing-room/presidential-actions/2021/09/09/executive-order-
on-requiring-coronavirus-disease-2019-vaccination-for-federal-employees/ (Executive Order on Requiring
Coronavirus Disease 2019 Vaccination for Federal Employees) (last visited November 12, 2021).
8
     https://thehill.com/opinion/finance/438242-the-federal-government-is-the-largest-employer-in-the-nation   (last
visited November 12, 2021).
9
   https://www.census.gov/library/stories/2021/04/who-are-our-health-care-workers.html#:~:text=There%20were%
2022%20million%20workers,American%20Community%20Survey%20(ACS) (last visited November 12, 2021).
10
     https://www.cnbc.com/2021/11/04/osha-federal-vaccine-mandate-covers-84-million-workerswhat-to-know.html
(last visited November 12, 2021).

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armed forces.11 There are few whose livelihood, education, service, and participation in civil society

are not contingent on a government requirement to receive this product. On this basis alone, basic

liberty and government transparency demand that the documents and data submitted by Pfizer to

license this product be made available to Plaintiff and the public forthwith, precisely as contemplated

by federal regulations.12

           The acute need for transparency regarding this product is heightened by the fact that the

secretary of Health and Human Services (“HHS”), the FDA’s parent department, has granted

Pfizer complete immunity from financial liability for any injury caused by its product. If injured

-- including suffering one of the injuries even federal health authorities admit occur from Pfizer’s

product -- the injured individual effectively has no recourse. Pursuant to the declaration from the

secretary of HHS, Pfizer cannot be sued by anyone receiving this product for any injury. 42 U.S.C.

§ 247d-6d. Pfizer also cannot be sued for willful misconduct regarding this product unless HHS,

which has been promoting this product, agrees to bring such a claim. 42 U.S.C. § 247d-6d(c)(5).13

It should not be that the public is deprived accessing the documents and data submitted by Pfizer

to license this product when at the same time the public are being mandated to receive this product

with no ability to sue Pfizer for compensation if they suffer any adverse reaction.

           The FDA has proposed to produce 500 pages per month which, based on its calculated

number of pages, would mean it would complete its production in nearly 55 years – the year 2076.

Until the entire body of documents provided by Pfizer to the FDA are made available, an



11
    https://www.americaspromise.org/us-military-demographics#:~:text=Military%20Service%20Member%20Data
,were%202.1%20active%20duty%20members (last visited November 12, 2021).
12
     See 21 CFR § 601.51(e).
13
   Reports have recently surfaced that the FDA was aware of concerns about unsound practices in connection with
clinical trials for the Pfizer Vaccine, but that FDA failed to properly investigate these claims.
https://www.bmj.com/content/375/bmj.n2635 (last visited November 12, 2021).

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appropriate analysis by the independent scientists that are members of Plaintiff is not possible.

Would the FDA agree to review and license this product without all the documents? Of course

not. These independent, world-renowned scientists should be provided the same forthwith.

         The entire purpose of the FOIA is to assure government transparency. It is difficult to

imagine a greater need for transparency than immediate disclosure of the documents relied upon

by the FDA to license a product that is now being mandated to over 100 million Americans under

penalty of losing their careers, their income, their military service status, and far worse.

         It took the FDA precisely 108 days from when Pfizer started producing the records for

licensure on May 7, 2021,14 to when the product was licensed on August 23, 2021.15 We assume,

as the FDA has stated, that it conducted an intense, robust, thorough and complete review and

analysis of those documents in order to assure that the Pfizer vaccine was safe and effective for

licensure. The FDA now has an equally important task of making those documents available to

the Plaintiff in this case and the public at large in at least the same timeframe.

         The FDA’s own regulations envision and reflect upon the importance of making this

information public as soon as a vaccine is licensed. Its regulations provide that it is to make

“immediately available” all documents underlying licensure of a vaccine. 21 C.F.R. § 601.51(e).

The FDA knew the intense public interest in that data and information. It should have been

preparing to release it simultaneously with the licensure. Instead, it has done the opposite. Despite

the passage of 84 days since licensure and 192 days since Pfizer started producing the records for




14
      https://www.pfizer.com/news/press-release/press-release-detail/pfizer-and-biontech-initiate-rolling-submission-
biologics (Pfizer announces that it initiated rolling submission of its biologics license application on May 7, 2021)
(last visited November 12, 2021).
15
   https://www.fda.gov/news-events/press-announcements/fda-approves-first-covid-19-vaccine (FDA announces that
it approved Pfizer’s COVID-19 vaccine on August 23, 2021) (last visited November 12, 2021).

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licensure, the FDA has not released a single document submitted by Pfizer for the licensure of its

Covid-19 vaccine. Not one page.

           Mandates of this liability-free product are ongoing and expanding as we debate in this Joint

Report. School-age children are now being mandated to take this product.16 Even 108 days from

today to produce is far too long, hence Plaintiff respectfully urges that March 3, 2022 be set as the

absolute outside date by which the FDA be compelled to produce these documents. The FDA is

an organization comprised of more than 18,000 people17 with a budget of $6 billion.18 It has itself

said that there is nothing more important than the licensure of this vaccine and being transparent

about this vaccine. This request is precisely why the need for transparency is so critical and why

Congress enacted FOIA. If the FDA claims its obligations under FOIA are too burdensome, it

should take its complaints to Congress – not this Court.

           For the Americans that will lose their job, income, career, military status, education, or

worse, for refusing a federal mandate requiring this product, they do not get to argue that it is too

burdensome to comply with federal law. That is not an excuse that individuals get to make when

a federal law requires them to do something. The FDA should similarly be afforded no such safe

harbor. Certainly not on an issue this important. Again, if the FDA finds complying with federal

law burdensome, its recourse is with Congress.

           In any event, the FDA should welcome making these documents available to the Plaintiff

if it is confident in the analysis and review it conducted. The fact that it has fought tooth and nail




16
     See, e.g., https://www.nbcsandiego.com/news/local/san-diego-unified-school-district-vaccine-mandate/2729909/.
17
  https://www.fda.gov/about-fda/fda-basics/how-many-people-are-employed-fda-and-what-areas-do-they-work (last
visited November 12, 2021).
18
     https://www.fda.gov/about-fda/fda-basics/fact-sheet-fda-glance (last visited November 12, 2021).

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and taken such an absurd and unconscionable position of waiting until the year 2076 to complete

the production further heightens the grave need to have these documents produced forthwith.

       Plaintiff respectfully requests that the Court enter an order requiring the FDA to produce

all documents and data submitted by Pfizer on a rolling basis such that all of it shall be produced

on or before March 3, 2022, which is 108 days from today. To require less is to render FOIA

meaningless, the FDA’s promise of transparency a lie, and to send a signal to every American that

while the federal executive branch is shielding Pfizer from any liability for injuries from its product

and requiring employers, schools, hospitals and the military to expel those that don’t receive this

product, it is protecting the very documents Pfizer provided to our taxpayer-funded health agency

to obtain licensure to be able to sell this product. That simply should not be and highlights why

FOIA and equity demand the relief Plaintiff requests herein.



Dated: November 15, 2021

                                        SIRI & GLIMSTAD LLP

                                        /s/ Aaron Siri
                                        Aaron Siri, NY Bar No. 4321790
                                        Elizabeth A. Brehm, NY Bar No. 4660353
                                        Gabrielle G. Palmer, CO Bar No. 48948
                                        200 Park Avenue
                                        17th Floor
                                        New York, New York 10166
                                        Tel: (212) 532-1091
                                        Fax: (646) 417-5967
                                        aaron@sirillp.com
                                        ebrehm@sirillp.com
                                        gpalmer@sirillp.com




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                            HOWIE LAW, PC

                            /s/ John Howie
                            John Howie
                            Texas Bar Number: 24027239
                            2608 Hibernia Street
                            Dallas, Texas 75204
                            Tel: (214) 622-6340
                            jhowie@howielaw.net

                            Attorneys for Plaintiff


                            BRIAN M. BOYNTON
                            Acting Assistant Attorney General
                            Civil Division

                            ELIZABETH J. SHAPIRO
                            Deputy Director
                            Federal Programs Branch

                            /s/ Courtney D. Enlow
                            COURTNEY D. ENLOW
                            Trial Attorney
                            United States Department of Justice
                            Civil Division, Federal Programs Branch
                            1100 L Street, N.W.
                            Room 12102
                            Washington, D.C. 20005
                            Tel: (202) 616-8467
                            Email: courtney.d.enlow@usdoj.gov

                            Counsel for Defendant




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